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DOCUMENT

UNITED STATES DISTRICT COURT | {| ELECTRONICALLY FILE
SOUTHERN DISTRICT OF NEW YORK /) DOC #:

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UNITED STATES OF AMERICA

 

 

 

 

 

 

CONSENT PRELIMINARY ORDER

-V- : OF FORFEITURE AS TO SPECIFIC
: PROPERTY/
AMADO ALONZO, : MONEY JUDGMENT
Defendant. : 19 Cr. 721 (LAK)
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WHEREAS, on or about October 8, 2019, AMADO ALONZO (the “Defendant”),
was charged in an Indictment, 19 Cr. 721 (LAK) (the “Indictment”), with narcotics conspiracy, in
violation of Title 21, United States Code, Section 846 (Count One); possession with intent to
distribute a controlled substance, in violation of Title 21, United States Code, Sections 841(a)(1)
and (b)(1)(B) and Title 18, United States Code, Section 2 (Count Two); conspiracy to commit
money laundering, in violation of Title 18, United States Code, Section 1956(h) (Count Three);

WHEREAS, the Indictment included a forfeiture allegation as to Counts One and
Two, seeking forfeiture to the United States, pursuant to Title 21, United States Code, Section 853,
of any and all property constituting or derived from, any proceeds obtained, directly or indirectly,
asa result of the offenses and any and all property used, or intended to be used, in any manner or
part to commit or to facilitate the commission of the offense charged in Count One and ‘Two of the
Indictment, including but not limited to a sum of money in United States currency representing
the amount of proceeds traceable to the commission of the offenses charged in Counts One and
Two of the Indictment;

WHEREAS, the Indictment included a second forfeiture allegation as to Count
Three, seeking forfeiture to the United States, pursuant to Title 18, United States Code, Section

982(a)(1) of any and all property, real and personal, involved in the offense charged in Count Three

 
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of the Indictment, or any property traceable to such property, including but not limited to, a sum
of money in United States currency representing the amount of property involved in Count Three
of the Indictment;

WHEREAS, on or about January 10, 2020, the Defendant pled guilty to Counts
One and Three, pursuant to a plea agreement with the Government, wherein the Defendant
admitted the forfeiture allegation with respect to Counts One and Three and agreed to forfeit, any
and all property constituting or derived from proceeds the Defendant obtained directly or
indirectly as a result of the offenses described in Count One of the Indictment, as well as any and
all property used or intended to be used to facilitate the commission of the offense alleged in Count
One of the Indictment, and pursuant to Title 18, United States Code, Section 982(a)(1), any and
all property involved in the offense described in Count Three of the Indictment, or any property
representing proceeds traceable to the commission of the offense described in the Count Three of
the Indictment and all right, title and interest of the Defendant in the following Specific Property:

a. $85,000 was seized from the Defendant’s residence in Bronx, New York on
September 11, 2019; and

b. $76,475 was seized from the Defendant’s vehicle in Bronx, NY on
September 11, 2019.

(a and b collectively, the “Specific Property”),

WHEREAS, the Defendant consents to the entry of a money judgment in the
amount of $201,475 in United States currency representing the amount of proceeds traceable to
the offense charged in Count One of the Indictment that the Defendant personally obtained and
the property involved in the offense charged in Count Three of the Indictment;

WHEREAS, the Defendant further consents to the forfeiture of all his right, title

and interest in the Specific Property, which constitutes proceeds of the offense charged in Count
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One of the Indictment and property involved in the offense charged in Count Three of the
Indictment;

WHEREAS, the Defendant admits that, as a result of acts and/or omissions of the
Defendant, the proceeds traceable to the offenses charged in Count One of the Indictment that the
Defendant personally obtained and the property involved in Count Three of the Indictment cannot
be located upon the exercise of due diligence, with the exception of the Specific Property, and

WHEREAS, pursuant to Title 21, United States Code, Section 853(g), and Rules
32.2(b)(3), and 32,2(b)(6) of the Federal Rules of Criminal Procedure, the Government is now
entitled, pending any assertion of third-party claims, to reduce the Specific Property to its
possession and to notify any and all persons who reasonably appear to be a potential claimant of
their interest herein;

IT IS HEREBY STIPULATED AND AGREED, by and between the United States
of America, by its attorney Audrey Strauss, Acting United States Attorney, Assistant United States
Attorney, Juliana N. Murray of counsel, and the Defendant, and his counsel, Ariel Werner, Esq.,
that:

1, As a result of the offenses charged in Counts One and Three of the
Indictment, to which the Defendant pled guilty, a money judgment in the amount of $195,000 in
United States currency (the “Money Judgment”), representing the amount of proceeds traceable to
the offense charged in Count One of the Indictment that the Defendant personally obtained and
the property involved in the offense charged in Count Three of the Indictment, shall be entered
against the Defendant.

2. As a result of the offenses charged in Counts One and Three of the

Indictment, to which the Defendant pled guilty, all of the Defendant’s right, title and interest in
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the Specific Property is hereby forfeited to the United States for disposition in accordance with the
law, subject to the provisions of Title 21, United States Code, Section 853.

3. Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this
Consent Preliminary Order of Forfeiture as to Specific Property/Money Judgment is final as to the
Defendant, AMADO ALONZO, and shall be deemed part of the sentence of the Defendant, and
shall be included in the judgment of conviction therewith.

4, All payments on the outstanding Money Judgment shall be made by postal
money order, bank or certified check, made payable to United States Customs and Border
Protection, and delivered by mail to the United States Attorney’s Office, Southern District of New
York, Attn: Money Laundering and Transnational Criminal Enterprises Unit, One St. Andrew’s
Plaza, New York, New York 10007 and shall indicate the Defendant’s name and case number.

5. United States Customs and Border Protection shall be authorized to deposit
the payment on the Money Judgment in the Treasury Assets Forfeiture Fund, and the United States
shall have clear title to such forfeited property.

6. Upon entry of this Consent Preliminary Order of Forfeiture as to Specific
Property/Money Judgment, the United States (or its designee) is hereby authorized to take
possession of the Specific Property and to hold such property in its secure custody and control.

7. Pursuant to Title 21, United States Code, Section 853(n)(1), Rule 32.2(b)(6)
of the Federal Rules of Criminal Procedure, and Rules G(4)(a)(iv)(C) and G(5){a)Gii) of the
Supplemental Rules for Certain Admiralty and Maritime Claims and Asset Forfeiture Actions, the
United States is permitted to publish forfeiture notices on the government internet site,
www.forfeiture.gov. This site incorporates the forfeiture notices that have been traditionally

published in newspapers, The United States forthwith shall publish the internet ad for at least thirty
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(30) consecutive days. Any person, other than the Defendant, claiming interest in the Specific
Property must file a Petition within sixty (60) days from the first day of publication of the Notice
on this official government internet web site, or no later than thirty-five (35) days from the mailing
of actual notice, whichever is earlier.

8. The published notice of forfeiture shall state that the petition (i) shall be for
a hearing to adjudicate the validity of the petitioner’s alleged interest in the Specific Property, (ii)
shall be signed by the petitioner under penalty of perjury, and (iii) shall set forth the nature and
extent of the petitioner’s right, title or interest in the Specific Property, the time and circumstances
of the petitioner’s acquisition of the right, title and interest in the Specific Property, any additional
facts supporting the petitioner’s claim, and the relief sought, pursuant to Title 21, United States
Code, Section 853(n).

9, Pursuant to 32.2 (b)(6)(A) of the Federal Rules of Criminal Procedure, the
Government shall send notice to any person who reasonably appears to be a potential claimant
with standing to contest the forfeiture in the ancillary proceeding.

10. Upon adjudication of all third-party interests, this Court will enter a Final
Order of Forfeiture with respect to the Specific Property pursuant to Title 21, United States Code,
Section 853(n), in which all interests will be addressed. All Specific Property forfeited to the
United States under a Final Order of Forfeiture shall be applied towards the satisfaction of the
Money Judgment.

11. Pursuant to 21 U.S.C. § 853(p), the United States is authorized to seek

forfeiture of substitute assets of the Defendant up to the uncollected amount of the Money

Judgment.
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12. Pursuant to Rule 32.2(b)(3) of the Federal Rules of Criminal Procedure, the
United States Attorney’s Office is authorized to conduct any discovery needed to identity, locate
ot dispose of forfeitable property, including depositions, interrogatories, requests for production
of documents and the issuance of subpoenas.

13. The Court shall retain jurisdiction to enforce this Consent Preliminary Order
of Forfeiture as to Specific Property/Money Judgment, and to amend it as necessary, pursuant to
Rule 32.2 of the Federal Rules of Criminal Procedure.

14. The Clerk of the Court shall forward three certified copies of this Consent
Preliminary Order of Forfeiture as to Specific Property/Money Judgment to Assistant United
States Attorney Alexander J. Wilson, Co-Chief of the Money Laundering and Transnational
Criminal Enterprises Unit, United States Attorney’s Office, One St. Andrew’s Plaza, New York,

New York 10007,

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15. The signature page of this Consent Preliminary Order of Forfeiture as to

Specific Property/Money Judgment may be executed in one or more counterparts, each of which

will be deemed an original but all of which together will constitute one and the same instrument.

AGREED AND CONSENTED TO:

AUDREY STRAUSS
Acting United States Attorney for the
Southern District of New York

By: \AAAK OAnite VW Z
Tghiana N. Murray
Assistant United States Attorney
One St. Andrew’s Plaza
New York, NY 10007
(212) 637-2314

AMADO ALONZO

    

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Ariel Werner, ESQ.

Attorney for Defendant
52 Duane Street
New York, NY 10007

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